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                                                  U.S. Department of Justice

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                                                  December 5, 2023

 Via E-mail

 Mr. Walt Pennington
 Pennington Law Firm
 3304 30th Street
 San Diego, CA 92104
 Email: wpennington@pennfirm.com

        Re:    California Marine Cleaning, Inc. v. U.S.,
               USDC S.D. Cal., No. 3:22-cv-00741-LAB-BLM

 Dear Mr. Pennington:

         We understand that you have recently contacted at least one former Navy official
 regarding the USS Bonhomme Richard fire, including calling the personal cell phone of the
 official’s spouse. You appear to be seeking information regarding the Navy’s investigation
 into the incident. You offered to pay the official for his time and have warned him that
 you plan to subpoena him to appear at trial in the above-captioned matter. Cal Marine
 continues to attempt to conduct discovery after the deadline and, as with the recent
 subpoenas to NASSCO and the City of San Diego, its current attempts to contact Navy
 witnesses through social media or other means is clearly impermissible and must cease
 immediately.

        The release of official information for litigation purposes and testimony by Navy
 personnel is controlled by Federal law and regulation. See United States ex rel. Touhy v.
 Ragen, 340 U.S. 462 (1951); and 32 C.F.R. §§ 725.1 et seq. Specifically, Department of
 the Navy personnel “shall not provide …official information, testimony, or documents,
 submit to interview, or permit a view or visit, without the authorization required by this
 part.” 32 C.F.R. § 725.2(b). Further, Department of Navy personnel shall not provide,
 with or without compensation, opinion or expert testimony concerning official DON or
 Department of Defense (DOD) information, subjects, personnel, or activities, except on
 behalf of the United States or a party represented by the Department of Justice, or with the
 written special authorization required by this part.” Id.

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         For purposes of federal law and regulation, “Department of Navy personnel”
 includes “active duty and former military personnel of the naval service including
 retirees…present and former civilian employees…” 32 C.F.R. § 725.4 (emphasis added).
 “Official Information” includes that which is “acquired by DOD personnel or its
 component personnel as part of their official duties or because of their official status within
 DOD or its components, while such personnel were employed by or on behalf of the DOD
 or on active duty with the United States Armed Forces…” Id.

         Having conducted essentially no fact or expert discovery at all in the case and being
 denied in its request to reopen discovery, the United States understands your client is now
 on the eve of trial attempting to conduct the discovery it should have done many months
 ago. Nonetheless, like the improper subpoenas you recently served, any attempt to contact
 current and former Navy employees about this case is not only inapt, but completely
 improper and must cease. No Navy personnel have been authorized to provide official
 information, testimony, or documents, nor submit to interview, for facts or opinions related
 to this litigation. The United States Department of Justice represents the Department of
 the Navy in this matter and any requests for information or testimony from a current or
 former Navy employee must be made through the undersigned counsel.

         Further, we note that Cal Marine’s witness list filed with the Court on December 4,
 2023, lists numerous witnesses, including Navy personnel, that Cal Marine did not disclose
 in its initial disclosures nor in any supplemental disclosure since then. These witnesses
 have long been known to Cal Marine and it failed to supplement its disclosures as required
 by Fed. R. Civ. P. 26(e). Disclosure of these witnesses for the first time in Cal Marine’s
 pretrial disclosures is untimely.

       Please contact me by phone or email so that in accordance with the Court’s
 scheduling order (ECF No. 23, ¶ 4) we can schedule a mutually convenient time to meet
 and confer before December 11, 2023.


                                       Very truly yours,

                                        /s/ Kyle Fralick

                                         Kyle Fralick
                                        Trial Attorney
                                Dept. of Justice, Torts Branch
                             West Coast and Pacific Rim Office
                            Aviation, Space & Admiralty Litigation




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